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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                              Case No. 20-20857-CIV-WILLIAMS

   ISRAEL ROSELL and
   ROBERTO GONZALEZ,

           Plaintiffs,

   v.

   VMSB, LLC, d/b/a GIANNI’S and
   d/b/a CASA CASUARINA,

        Defendant.
   _____________________________________/

                                           ORDER

           THIS MATTER is before the Court on Chief Magistrate Judge Edwin G. Torres’

   Report and Recommendation (DE 140) on the Parties’ cross motions for summary

   judgment. In the Report, Magistrate Judge Torres recommended that Plaintiffs’ Motion

   for Summary Judgment be DENIED and that Defendant’s Motion for Summary Judgment

   be GRANTED in part and DENIED in part. Plaintiffs filed objections to the Report. (DE

   143.)

           Having conducted a de novo review of the portions of the report and

   recommendation to which Plaintiffs object and a review of the remainder for clear error,

   Plaintiffs’ objections are overruled. Accordingly, is ORDERED AND ADJUDGED as

   follows:

           1. The Report (DE 140) is AFFIRMED AND ADOPTED.

           2. Plaintiffs’ Motion for Summary Judgment (DE 112) is DENIED.

           3. Defendant’s Motion for Summary Judgment (DE 114) is GRANTED as to

               Counts 1 and 2. Defendant’s Motion is DENIED as to Count 3.
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   DONE AND ORDERED in Chambers in Miami, Florida, this 28th day of March, 2022.




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